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16                                                   [Additional counsel listed on signature
                                                     page]
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18
                                 UNITED STATES DISTRICT COURT
19                            NORTHERN DISTRICT OF CALIFORNIA
20                                    SAN FRANCISCO DIVISION
21

22   MAXIMILIAN KLEIN, et al., on behalf of            Case No. 3:20-cv-08570-JD
     themselves and all others similarly situated,
23
                                   Plaintiffs,         JOINT NOTICE RE PROPOSED
24                                                     SCHEDULE IN CONSUMER CASE
            v.
25                                                     Judge: Hon. James Donato
     META PLATFORMS, INC., a Delaware
26   Corporation,

27                                 Defendant.

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     No. 3:20-cv-08570-JD                                                        JOINT NOTICE RE
                                                            PROPOSED SCHEDULE IN CONSUMER CASE
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 1                                        JOINT STATEMENT

 2          Pursuant to the Court’s January 24, 2025 Order, Consumer Plaintiffs and Defendant Meta

 3   Platforms, Inc. have conferred regarding “a proposed schedule for the remaining pretrial and trial

 4   dates” in the Consumer case. Dkt. 885 at 15. On February 7, 2025, Consumers filed with the

 5   United States Court of Appeals for the Ninth Circuit a petition for permission to appeal under

 6   Federal Rule of Civil Procedure 23(f) this Court’s order denying class certification and excluding

 7   certain opinions of their expert Dr. Economides. The parties’ proposed schedule for the remainder

 8   of proceedings before this Court is set forth below.

 9

10                  Case Event                                         Proposed Date
      Case Management Statement                        14 days from Ninth Circuit’s decision on
11
                                                       Plaintiffs’ appeal
12
      Case Management Conference                       Within 30 days from Ninth Circuit’s decision
13                                                     or as convenient for the Court

14    Summary Judgment and Daubert Motions             45 days from Ninth Circuit’s decision on
                                                       Plaintiffs’ appeal
15
      Oppositions to Summary Judgment and 30 days after Summary Judgment and Daubert
16
      Daubert Motions                     Motions
17
      Replies Regarding Summary Judgment and 14 days after Oppositions to Summary
18    Daubert Motions                        Judgment and Daubert Motions

19    Pretrial Conference                              8 months after Replies Regarding Summary
                                                       Judgment and Daubert Motions
20
      Jury Trial                                       19 days after Pretrial Conference
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     No. 3:20-cv-08570-JD                                                                      1
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                                                            PROPOSED SCHEDULE IN CONSUMER CASE
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      DATED: February 10, 2024                      Respectfully submitted,
 1

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     No. 3:20-cv-08570-JD                                                                   2
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                                                         PROPOSED SCHEDULE IN CONSUMER CASE
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                                                                      JOINT NOTICE RE
                                                 PROPOSED SCHEDULE IN CONSUMER CASE
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 1                                   SIGNATURE ATTESTATION

 2          This document is being filed through the Electronic Case Filing (ECF) system by attorney

 3   Kevin Y. Teruya. By his signature, Mr. Teruya attests that he has obtained concurrence in the filing

 4   of this document from the signatories.

 5                                                    By:    /s/ Kevin Y. Teruya
 6                                                            Kevin Y. Teruya

 7                                   CERTIFICATE OF SERVICE
 8          I hereby certify that on this 10th day of February 2025, I electronically transmitted the
 9   foregoing document to the Clerk’s Office using the CM/ECF System, and caused the document
10   submitted herewith to be transmitted to counsel of record by email.
11

12                                                    By:    /s/ Kevin Y. Teruya
                                                              Kevin Y. Teruya
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     No. 3:20-cv-08570-JD                                                                       4
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                                                             PROPOSED SCHEDULE IN CONSUMER CASE
